    Case 2:13-mj-00024-TEM Document 5 Filed 02/28/13 Page 1 of 1 PageID# 10

                                                                                               FILED

                         IN THE UNITED STATES DISTRICT COURT FOR THE                        FEB 2 8 2013
                                 EASTERN DISTRICT OF VIRGINIA
                                                                                       CLERK. U.S. DISTRICT COURT
                                                                                              NORFOLK. VA
                                            Norfolk Division

 UNITED STATES OF AMERICA

                                                        Magistrate No. 2:13mj24

DAVID G. YOUNG


                         ORDER TO DISMISS WARRANT AND RESET CASE

        The United States of America, through its undersigned counsel, comes now and moves for the
entry of an order dismissing the warrant issued on February 14, 2013, and rescheduling the case to
March 14, 2013, at 9:00 a.m.

        WHEREFORE, ITIS ORDERED that the warrant in the above matter isdismissed and the case
is rescheduled to March 14, 2013, at 9:00 a.m.

        IT IS FURTHER ORDERED that the Clerk's Office shall provide copies ofthis Order to the
United States Attorney's Office and the United StatesMarshal's Service.
                                                                          fe/
                                                           Douglas E. MillefcP^^
                                                          United States Magistrate Judge
                                                        United StatesMagistrate Judge
February £&Y2013
Norfolk, Virginia

I ASK FOR THIS:

Neil H. MacBride
United States Attorney


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